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Fill in this information to identify the case:

 

| Debtor 1 Bunny E LePell -
Debtor 2
|
|

 

(Spouse, if filing)

United States Bankruptcy Court for the: Northern District of Indiana (Hammond
Division) : ;

Case number 10-25745

 

Official Form 410S1_

Notice of Mortgage Payment Change

lf the debtor's plan provides for payrtient of postpetition contractual installments on your claim secured by a security interest in the debtor's principal residence

you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 1 days
before the new payment amount i is due. See Bankruptcy Rule 3002.1.

Name of Creditor:) THE BANK OF NEW YORK MELLON FKA THE Court claim no. (if known):
: BANK OF NEW YORK,;.AS TRUSTEE FOR THE

 

BENEFIT OF THE CERTIFICATEHOLDERS OF Date of payment change:
THE CWHEQ ING., CWHEQ REVOLVING HOME Must be at least 21 days after date of this notice 02/25/2016
EQUITY LOAN TRUST. SERIES 2007-E Rew ictal payment:

Last 4 digits of any number you use to identify Principal, interest, and escrow, if any
the debtor's account: - 0221.

$30.30

 

Escrow Accou nt Payment Adjustment

1. Will there be a change in the debtor's escrow account payment?
No

Yes Attach a copy of the escrow account statement prepared in a form consistent with applicable ronbankruptey law.
Describe the basis for the change: If a statement is not attached, explain why:

ow

 

_ Current escrow payment: New escrow payment: |

[Part 2: Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
rate note?

a
¥ . Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
Ifa notice is not attached, explain why:

 

Current interest rate: = 4.25% New interest rate: 4.5%

Current principal and interest payment: $28.70 New principal and interest payment: $30.30

 

 

767974-4c7dc793-402e-4c48-84fc-744a36848ebf-

 
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Other Payment Change sae Hes

   

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

No

Hay. Yes Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
‘ Modification agreement. (Court approval may be required before the payment change can take effect.)
Reason for change: one

Current mortgage payment: New mortgage payment: —

 

 

 

SignHere ss

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.
Check the appropriate box:

LJ |am the creditor.

A lam the creditor's authorized agent.

‘| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information:

and reasqi belief.”

Z Ny Dia Date 02/01/2016

 

 

 

x 2B

Tiffany Datden <7

Assistant Vice President
Print: Tiffany Darden “ee Soe. Sh Title Assistant Vice President
Company Bank of America, NA.- > Specific Contact Information:
Address | 2380 Performance Dr. _ Phone: 214-209-5158

Richardson, TX 75082. Email: tiffany.darden@bankofamerica.com

 

 

 

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Case 10- 25745- kl Doc50 Filed 02/02/16 Page 3of11

UNITED. STATES BANKRUPTCY COURT

Northern District of Indiana (Hammond Division)

Chapter 13 No. 10-25745,
in re: eee ae! etree Judge: Kent Lindquist
Bunny E LePell ‘ie Rae
Debtor(s).

CERTIFICATE OF SERVICE

| hereby certify that on February 01, 2016, | have served a copy of this Notice and all attachments to the flowing by U.S. Mail, postage prepaid,
or via filing with the US Bankruptcy Court's CM ECF system.

By U.S. Postal Service First Class Mail Postage Prepaid:

Debtor:. Bunny E LePell
~. 116 S. Lake Park Ave.
Hobart, IN 46342

Debtor's Attorney: Dan L. Whitten”
sat? ‘Attorney at Law

~ 6183 Central Ave

Portage, IN 46368

Trustee: ~. Paul R. Chael...
: 401 West 84th Drive
Suite C :
~~ Merrillville, IN 46410

/s/ Frances Bell

 

4S Technologies, LLC
(as authorized agent for Bank of America, N.A.)

200 Sheffield St., Suite 101
Mountainside, NJ 07092
(908) 588-9650
franbell@4stechnologies.com

767974-1b262678-8d1 8-4076-8406-3fe544 1021c9-
Case 10-25745-kl. Doc 50 Filed 02/02/16 Page 4 of 11

 

Post-Petition Billing Cycle/ | 1 of 8

Bankof America
othe 1. Cudtomer Service Statement Period
ZR PO Box 31785 01/01/2016 - 01/31/2016
i Tampa, FL 33631- 3785
Home Loans» ‘Account Number
i 4 ) Property Address

; 116 S LAKE PARK AVE
0110387 02 AT 0.413 “AUTO T4 0 0250 46342- 432616 -C01-P10507-11
H HX AG .76..2........8 813 DTOO1

BUNNY E LEPELL
116 S LAKE PARK AVE
HOBART IN 46342-4328.

_ FOR INFORMATION PURPOSES

IMPORTANT NOTICE

Pi ened notice is being sent to the following borrowers at the address set forth above in reference to their Chapter 13 bankruptcy case: BUNNY E

If You Are Currently a Debtor in a Bankruptcy: This statement is being furnished for informational purposes only. Itis intended to inform you of the
post-petition amounts due on your account, any amounts charged to your account, and the funds applied to your account during your chapter 13 bankruptcy
case. It should not be construed as an attempt to collect a debt or to modify the terms of your chapter 13. plan. Note that your chapter 13 plan may provide for
the Trustee to pay amounts outstanding on your loan as of the date you filed your bankruptcy case or as otherwise provided in your chapter 13 plan. If your
bankruptcy case is dismissed, converted to a chapter 7, or the automatic stay is lifted prior to the. completion of payments due under your chapter 13 plan,
these cure amounts will remain due and owing to the extent that they have not been paid. If you are unable to complete your chapter 13 plan, Bank of
America, N.A. retains its rights to collect any amounts outstanding against the property securing your loan.

This is not a’ statement of the amount necessary to pay off your loan.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Loan Summary © Payment Details,,)
ACCOUNT l a rr ;
“SUMMARY. Unpaid Principal Balance $7,950.05 Periodic FINANCE CHARGE $30.30
: ; ovate Daily Balance $7,950.05 Post Petition Amounts Unpaid fi

| Corresponding ANNUAL PERCENTAGE RATE _ 4.5000% Minimums Payment Due: 02/25/2016 $30.30
Daily Periodic Rate : -0.01230% Fees Incurred This Period.) $0.00
Historical ANNUAL PERCENTAGE RATE | : 4.5000% ‘Outstanding Fee Balance Unpaid, $0.00
Daysj1) in Cycle : | 31 (see next page for transaction details)
FINANCE, CHARGE | «$80,30 .

 

 

 

(1) The references are to account details after (post-petition} you file your bankruptcy petition.

(2) Fees and other charges identified in the Transaction Details are not included in either the Fees Incurred. This
Period or Outstanding Fee Balance Unpaid. :

All post-petition fees remain subject to review by Bank of America; N.A. To the extent that Bank of America, NLA.
intends to collect fees incurred nig the bankruptcy case from you, the fees will be included on a Post- Petition
Fee Notice filed with the bankruptcy court. To the extent that the Outstanding Fee Balance shown above
includes any fees that are included in a proof of claim, those fees will be recovered pursuant to the terms of your
chapter 13 plan.

*Post Petition Amounts Unpaid: For a breakdown of your prepetition and post petition amounts unpaid, please
call 1.800.669.5224. ’

| Account Number (1)

BUNNY E LEPELL ~~ HOME EQUITY LOAN
=| NIG S LAKE PARK AVE Minimumy) Payment Due —“Feb 25, 2016 $30.30
HOW TO MAKE A PAYMENT
i. Please emt fe JE
«Don't send cash SEE OTHER RSID FOR IMPORTANT INFORMATION 0250 : | Additional
* Don't staple your check to the: Be ee " Bank of America N.A: Principal
paymentcoupon Bae ae aah. :
*Don'tinclude correspondence FS a PO BOX 650225 ’
«Include coupon with payment DALLAS, TX 75265-0225. NA
2. Write your account number on
your check or money order. Ie atown
he yee Fees ‘otal Amount
3. Make your check payable to Enclosed
Bank of America, NLA i F

 

PO Box 650225 =
Dallas, TX 75265-0225
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~ FOR INFORMATION PURPOSES
|; TRANSACTION DETAILSg Loe
Post Date Transaction Date — Description Loan Advances/Debits ~Payments/Credit Balance
01/01/2016 01/01/2016 PREVIOUS BALANCE 4 $8,022.69
plenase 01/12/2016 CASH RECEIPTS .. $27.77 $7,994.92
01/31/2016 01/31/2016 PERIOD/C* FINANCE CHARGE*. —- 80. 30 $8,025.22
**New Balance as of 01/31/2016 $8,025.22

**Note: The amount needed to pay off your loan may be different than the New Balance due to daily accrual of finance Sn and the posting of transactions after the statement closing date (the last day in the

statement period). For payoff information, please cal! Customer Service at 1.800.669.5864.
(2)Please see footnote (2) on page 1.

Your payment has ahangei by $1.60 due to:
Payment Adjustment

NOTE: For information on fee transactions, please see Summary of Fees.

 

CREDIT DISCLOSURE
STATEMENT

Finance Charges

We figure the finance charge on your account by applying the periodic. rate to
the “ average daily balance" of your account (including current transactions).
To get the "average daily balance” we take the beginning balance of your
account each day, add any new purchases/advances/fees, and subtract any
payments or credits. This gives us the daily balance. Then, we add up all the
daily dalances for the billing cycle and divide the total by the number of days
in the billing cycle. This gives us the "average daily balance."

Variable Rate
Your account has a variable rate and the periodic rate may change.
Billing Rights Summary

In Case of Errors or Questions About Your Bill.
If you think your bill is wrong, or if you need more information about a

transaction on your bill, write us on a separate sheet atthe address shown on..

your bill within the ‘To Contact Us” section appearing in this bill under the
"Send Billing Error Notices to:" heading as soon as possible. We must hear
from you no later than 60 days after we sent you the first bill on which the error
or oo ane

TENDER

Account Number

You can telephone us, but doing so will not preserve your rights.

In your letter, give us the following information:

® Your name and account number.

e The dollar amount of the suspected error.

e Describe the error and-explain, if you can, why you believe there is an
error. If you need more information, describe the item you are unsure
about.

You do hot have to pay any amount in question while we are investigating,

but you-are still obligated to pay the parts of your bill that are not in question.

While we investigate your question, we cannot report you as delinquent or

take any action to collect the amount in question.

2 Bank of America, NLA. Member FDIC. Equal Housing Lender, © 2016 Bank of America Corporation, Trademarks are the property of Bank of America carport. All rights reserved.

’ E-mail use: Providing your E-mail address(es) below will-allow us to. send you information on your

account
BUNNY E LEPELL
E-mail address:

 

E-mail address.
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; Banko? America 4 ¥ Account Number ay | Post-Petition Billing Cycle/ 3of8
bee Fee ies eres ate" tors Property Adiess : “Statement Period peas
a tele aU 116'S LAKE PARK AVE O1/01/2016 - 01/31/2016
Home Loans fe :

 

FOR INFORMATION PURPOSES
To | For up-to-the-minute information about your account, Send Billing Error Notices to: ©

 

CONTACT please call 1.800.669.5864, Monday-Friday 7a.m. to 7p.m. _ Attention: Billing Error Notices -
1 us ‘Local Time. Se habla espafiol. PO Box 941657
TDD 1.800.300.6407 © Simi Valley, CA 93094-1657
j : Send your payments to: PO Box 650225, Dallas, TX 75265-0225
Please have your account number available when you call. ‘ “Overnight deliveries Retail. Payment Services, TX1-160-06-01,
Calls may be monitored or recorded to ensure quality service. eee’ STE 6020, 1950 N Stemmons FWY, Dallas, TX

Our website bankofamerica.com

*The facility at this address does not accept walk-up payments, it accepts
overnight mail only, Payments can be made by Phone, Online, Mail or at Bank
of America Financial Centers..
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Bankof America [ones
Home Loans SED cae eee eat FOR INFORMATION PURPOSES
Account activity for reporting period 01/01/2016 through 01/31/2016
ADDITIONAL _- Information presented here is as of 01/31/2016
INFORMATION : agatha vise ‘
“Next payment due amount $0.00
~ Total Post-Petition arrears amount $0.00
~ Funds held in suspense-loan partial $0.00
‘SUMMARY OF FEES
| FEE ACTIVITY = ss Date: Description Age Debit Credit
There was no activity on your account for the period covered in this: statement. i :
| Total Fees For This Period $0.00
i a
OUTSTANDING FEE © Outstanding Fee Balances as of 01/31/2016
| SUMMARY. ‘ es Bea oe
a as : _ Description ‘ Balance
. There was no eee on your, maou for the period ¢ covered i in this statement.
' [ 7 Total Outstanding Fees Unpaid $0.00

 

Fees and other charges identified in the Transaction Details are not included in the Outstanding Fee Summary above.
All post-petition fees remain subject to review by Bank of America, N.A. To the extent that Bank of America, N.A, intends to collect fees incurred during the
bankruptcy case from the Borrower, the fees will be included on a Post-Petition Fee Notice pursuant to Rule 3002.1 of the Bankruptcy Rules. To the extent
that the Outstanding Fees shown above include any fees that are included ona proof of claim, those fees will be recovered pursuant to the bankruptcy plan.
__lfyour bankruptcy case is dismissed, converted to chapter 7, or the automatic stay is lifted prior to your completion of the payments under your bankruptcy .
--plan, you will remain responsible for these amounts to the extent that they have not been paid under the bankruptcy plan.

@ Bank of America, N.A. Member FDIC. Equal Housing Lender, © 7016 Bank of America Corporation. Trademarks are the property of Bank of America Corporation. All ‘ides reserved.
TENDER
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Oo. pig hk.

    

   

 
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BankofAimerica |. eae _ Account Number | Post-Petition Bling Cycley | rof8
a Property Address _ Statement Period
i A ae iN 8 LAKE PARK AVE 01/01/2016 - 01/31/2016

Home Loans"
; FOR INFORMATION PURPOSES

 

*OTHER IMPORTANT INFORMATION

Avoid Late Payments - Make your payment.on or before the due date specified in your loan documents. if you }don't have a payment coupon, write your

account number on your check or money order and submit it promptly to ensure we: receive your payment before a late charge becomes due. The payment
address is located under To Contact Us. i

Additional Amounts - Any full periodic payment thet is received and accepted will be applied to the longest outstanding periodic payment due, unless
otherwise expressly prohibited or limited by your loan documents, the owner/insurer/guarantor.of your loan or applicable law. Payments will be applied as
described in your loan documents, including any modifications to the original documents. If your loan is current, please specify how you want any additional
amounts you pay to be applied to your account. If you do not specify, subject to your loan documents and applicable bankruptcy law, additional amounts will
first be applied to fees noticed to the bankruptcy court or other amounts owed on your account and the remainder applied as a principal reduction. If we are
unable to apply additional amounts to your account as you. specify, we may return the funds to you.

Cramdown - If the secured portion of your loan was reduced to the value of the property; known as “cramdown”, in'a bankruptcy reorganization case, this
statement may reflect the terms of the order allowing the cramdown. If that order was contingent upon discharge and you do not receive a discharge of the
underlying debt, the Bate acetal terms us your loan will be reinstated ‘and will be reflected in future statements.

: Payment - We will credit your account the same day we receive your payment if received on a banking day (not including Saturday) by 5 p.m. in the time zone
where the payment is to be mailed and addressed as shown in the payment coupon.

Postdated checks will be processed on the date received unless an authorized ‘tepresentative agrees to honor the date written on the check as a condition of
‘a repayment plan.

We may charge you a fee {oF up to $40.00) for any payment returned or rejected by your financial institution, subject to the requirements of your loan
documents and applicable law. In addition, there may be fees for certain services related to the servicing of your loan, which such fees are either listed on
our website or will be quoted upon request. All fees are subject to change without prior notice.

Bank of America, N.A. is required by law to inform you that this communication is trom a debt collector.
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